
ORDER
The Office of Disciplinary Counsel (“ODC”) is currently investigating twenty-six complaints alleging serious professional misconduct by respondent, including his failure to refund unearned legal fees, improper handling of client funds, lack of diligence, and failure to communicate with clients. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent’s petition.
Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Troy D. Jackson, Louisiana Bar Roll number 28620, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Troy D. Jackson for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5(c) of the Rules of Professional Conduct, as amended March 24, 2004.
IT IS FURTHER ORDERED that Troy D. Jackson shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
/s/ Catherine D. Kimball
Justice, Supreme Court of Louisiana
